Minute Order Fo\'m (06/9’1'}

Case: 1:99-cv-00626 Document #: 565 Filed: 03/02/04 Page 1 of 1 Page|D #:1957

United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name ol` Assigned Judge James B Zagel Sitting Judge if Othcr
or Magistratc Judge ' than Assigncd Judge
CASE NUMBER 99 C 626 DATE _ 3/2/2004
CASE EOLAS TECHNOLOGIES vs. MICROSOFT CORPORATION, et al
TITLE
[ln the following box (a) indicate the party filing the motion, e.g., plaintift`, defendant, 3rd party plaintiff, and (b) state briefly the nature
` ' d.
MOTION: ol`thc motion being presente ]
DOCKET ENTRY:
(1) l:l Filed motion of [ use listing in “Motion” box above.]
(2) l:l Brief in support of motion due
(3) l:l Answer brief to motion due . Reply to answer brief due
(4) l:l Ruling/Hearing on set for at
(5) [:l Status hearing[held!continued to] [set for/re-set for] on set for at
(6) |:l Pretrial conference[held/continued to] [set forfre-set for] on set for at
(7) |:.l Trial[set forfre-set for] on at
(8) l:l [Bencthury trial] [Hearing] held/continued to at
(9) l:l This case is dismissed [Withfwithout] prejudice and without costs[by/agreement/pnrsuant to]
l:l FRCP4(m) l:l Loeal Rule 41.1 l:] FRCP41(a)(l) l:| FRCP41(a)(2).
v- >¢\l-L’- - _
(10) l [Ocher docket enrry] Costs are taxed/lrf{he p B. olas Technologies, Inc. and Regents
of the University of California in the amount of $136,565.08.
(11) |:l [For further detail see order (on reverse side of/attached to) the original minute order.]
No notices required, advised in open court.
No notices required number °fnmims
Notices mailed byjudge’s stafl`.
Notil`ied counsel by telephone
,/ Docketing to mail notices.
Mail AO 450 form.
Copy to judge/magistratejudge.

 

    

 

 

 

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date mailed notice
courtroom

deputy’s
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